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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION


UNITED STATES OF AMERICA                    §
                                            §
v.                                          §             No. 4:19-CR-196-O
                                            §
MICHAEL WEBB                                §


                                           ORDER

       Pending before the Court are Defendant’s Motion to Suppress (ECF No. 40), Motion to

Change Venue (ECF No. 41), and Motion to Dismiss (ECF No. 42). To resolve these motions in

a timely manner, the Court ORDERS the Government to respond no later than September 6, 2019.

Defendant shall reply no later than September 10, 2019.

       Signed this 3rd day of September, 2019.



                                           _____________________________________
                                           Reed O’Connor
                                           UNITED STATES DISTRICT JUDGE
